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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION (at Cincinnati)


CHRISTY BECKERICH,            )
individually and as class     )                         Case No. 1:21-CV-548-TSB
representative, ET AL.        )
                              )
       Plaintiffs             )                         Judge Timothy S. Black
                              )
v.                            )
                              )                         NOTICE OF DISMISSAL
ST. ELIZABETH MEDICAL CENTER, )                         WITHOUT PREJUDICE
INC., ET AL.                  )                         (FRCP 41(a)(1)(A)(i))
                              )
       Defendants             )


       Plaintiffs Christy Beckerich, individually and as class representatives, et al., by and

through counsel, hereby notice the dismissal of this action without prejudice pursuant to FRCP

41(a)(1)(A)(i) and other applicable law, no answer or motion for summary judgment having been

served by any defendant. Plaintiffs intend to refile.

                                              Respectfully submitted,

                                              /s/ Glenn D. Feagan___________________
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                                 CERTIFICATE OF SERVICE

        Pursuant to Fed. R. Civ. P. 5(d) and other applicable law, I certify that on August 29,
2021, I electronically filed the foregoing with the Clerk of Court using the CM/ECF system,
which will automatically send email notification of such filing to all counsel of record who are
deemed to have consented to electronic service.

                                              /s/ Glenn D. Feagan _______ __          ____
                                              Glenn D. Feagan
